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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,            CR NO. 2:11-0119 WBS KJN
13                Plaintiff,              ORDER
14        v.
15   ROBERT HANRAHAN,
16                Defendant.
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19             Defendant Robert Hanrahan, a federal prisoner

20   proceeding pro se, has filed a Motion requesting the court to

21   reduce the amount of time remaining on his sentence based on

22   custody credits he claims he earned but which the Bureau of

23   Prisons is denying him.     (Def.’s Mot. (Docket No. 282).)

24   “Calculation of time served in a federal sentence is governed by

25   18 U.S.C. § 3585(b).”     United States v. Lualemaga, 280 F.3d 1260,

26   1265 (9th Cir. 2002).     “§ 3585(b) does not authorize a district

27   court to compute credit for time served.”        United States v.

28   Peters, 470 F.3d 907, 909 (9th Cir. 2006) (citing United States
                                         1
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1    v. Wilson, 503 U.S. 329, 334 (1992)).       “Rather, credit for time

2    served is a matter within the province of the Bureau of Prisons

3    under § 3585(b) . . . .”     United States v. Moore, 54 F. App’x

4    632, 633 (9th Cir. 2002).     Because the court lacks authority to

5    grant the relief defendant requests, it must deny defendant’s

6    Motion.

7               IT IS THEREFORE ORDERED that defendant’s Motion (Docket

8    No. 282) be, and the same hereby is, DENIED.

9    Dated:    July 12, 2017

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